  Case 21-13451             Doc 31         Filed 06/29/22 Entered 06/29/22 11:04:13           Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS (EASTERN DIVISION)

IN RE:                                                     Case No.: 21-13451
                                                           Chapter: 13
          Lawanda K Hewitt                                 Hearing Date: 07/15/2022

                                               Debtor      Judge LaShonda A. Hunt


                                              NOTICE OF MOTION

TO:       Glenn B Stearns, Chapter 13 Trustee, 801 Warrenville Road Suite 650, Lisle, IL 60532
           by electronic notice through ECF
          Lawanda K Hewitt, Debtor, 21758 Ivanhoe Trl, Plainfield, IL 60540
          Booker Hewitt, Co-Debtor, 21758 Ivanhoe Trl, Plainfield, IL 60540
          Shamus M Boyd, Attorney for Debtor, 20 S Clark St, Ste 28, Chicago, IL 60603
           by electronic notice through ECF
          Office of U.S. Trustee, Region 11, 219 S Dearborn St, Room 873, Chicago, IL 60604
           by electronic notice through ECF

        PLEASE TAKE NOTICE that on 07/15/2022, at 10:15AM, I will appear before the Honorable
Judge LaShonda A. Hunt, or any judge sitting in that judge’s place, and present the motion of Codilis &
Associates, P.C. for AH4R Management- IL, LLC d/b/a American Homes 4 Rent, a copy of which is
attached.

        This motion will be presented and heard electronically using Zoom for Government. No
personal appearance in court is necessary or permitted. To appear and be heard on the motion, you must
do the following:

        To appear by video, use this link: https://www.zoomgov.com/join. Then enter the meeting ID
and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666.
Then enter the meeting ID and password.

         Meeting ID and password. The meeting ID for this hearing is 161 165 5696 and the passcode is
749091. Additional information can be found on Judge Hunt’s webpage on the court’s website:
https://www.ilnb.uscourts.gov/content/judge-lashonda-hunt.

         If you object to this motion and want it called on the presentment date above, you must file a
Notice of Objection no later than two (2) business days before that date. If a Notice of Objection is timely
filed, the motion will be called on the presentment date. If no Notice of Objection is timely filed, the court
may grant the motion in advance without a hearing.


                                                          /s/ Terri M. Long
                                                        Attorney for Movant
Terri M. Long ARDC#6196966
terri.long@il.cslegal.com
Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527
(630) 794-5300
14-22-05110
NOTE: This law firm is a debt collector.
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                                           CERTIFICATE OF SERVICE


        The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
along with the attached Motion upon the parties listed below, as to the Chapter 13 Trustee, U.S.
Trustee and Debtor’s Attorney via electronic notice on June 29, 2022 and as to the Debtor by
causing same to be mailed in a properly addressed envelope, postage prepaid, from 7140 Monroe
Street, Willowbrook, IL 60527 before the hour of 5:00 PM on June 29, 2022.
         Glenn B Stearns, Chapter 13 Trustee, 801 Warrenville Road Suite 650, Lisle, IL 60532
          by electronic notice through ECF
         Lawanda K Hewitt, Debtor, 21758 Ivanhoe Trl, Plainfield, IL 60540
         Booker Hewitt, Co-Debtor, 21758 Ivanhoe Trl, Plainfield, IL 60540
         Shamus M Boyd, Attorney for Debtor, 20 S Clark St, Ste 28, Chicago, IL 60603
          by electronic notice through ECF
         Office of U.S. Trustee, Region 11, 219 S Dearborn St, Room 873, Chicago, IL 60604
          by electronic notice through ECF


                                                          /s/ Terri M. Long
                                                        Attorney for Movant

Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Brenda Ann Likavec ARDC#6330036
Terri M. Long ARDC#6196966
Codilis & Associates, P.C.
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                    UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF ILLINOIS (EASTERN DIVISION)

IN RE:                                               Case No.: 21-13451
                                                     Chapter: 13
        Lawanda K Hewitt                             Hearing Date: 07/15/2022

                                          Debtor     Judge LaShonda A. Hunt



 MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND CO-DEBTOR STAY



       NOW COMES AH4R Management - IL, LLC d/b/a American Homes 4 Rent, its
successors and/or assigns (hereinafter “Movant”), by and through its attorneys, Codilis &
Associates, P.C., and moves this Honorable Court pursuant to 11 U.S.C. §362 and §1301(c) for
an Order granting Movant relief from the automatic stay and co-debtor stay, and in support
thereof respectfully states as follows:


       1.      This Court has jurisdiction pursuant to 28 U.S.C. §1334 and Internal Operating
Procedure 15(a) of the United States District Court for the Northern District of Illinois, Eastern
Division;


       2.      Movant is a creditor of the Debtor with respect to a certain residential Lease
Agreement dated 12/14/2021, providing for the lease by the Debtor of certain premises with a
common address of 21758 Ivanhoe Trail, Plainfield, IL 60544 (hereinafter “Lease”);

       3.      Enforcement of the Lease has been stayed automatically by operation of 11
U.S.C. §362 of the Bankruptcy Code upon the Debtor filing of this petition on 11/24/2021;

       4.      The Debtor has failed to make the lease payments as they came due, thereby
causing a five-month default in the amount of $14,675.40 as of 06/24/2022, plus attorney fees
and court costs for this motion;


       5.      The Debtor has also failed to pay utilities including water, gas, electric, sewer and
trash; and other fees that have come due pursuant to the lease, which have been included in the
calculation of any default figures quoted herein;
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       6.      That the subject lease is co-signed by Booker Hewitt and that to the extent that the
co-debtor stay of 11 U.S.C. §1301 applies to residential leases, it applies to Booker Hewitt and
grounds exist for relief therefrom under 11 U.S.C. §1301(c)(3) if the automatic stay is modified
therein;


       7.      This Court has authority to order that Rule 4001(a)(3) is not applicable to the
order entered in granting this motion, and Movant requests this Court so order;


       WHEREFORE, AH4R Management - IL, LLC d/b/a American Homes 4 Rent its
successors and/or assigns, prays that this Honorable Court enter an Order modifying the
restraining provisions of 11 U.S.C. §362 and §1301(c) to permit Movant to take any and all
action necessary to enforce its rights pursuant to the Lease under applicable state law, and for
such other and further relief as this Court may deem just and proper.

       Dated this June 29, 2022.
                                                 Respectfully Submitted,

                                                 Codilis & Associates, P.C.


                                                 By: /s/ Terri M. Long

                                                 Berton J. Maley ARDC#6209399
                                                 Rachael A. Stokas ARDC#6276349
                                                 Peter C. Bastianen ARDC#6244346
                                                 Joel P. Fonferko ARDC#6276490
                                                 Brenda Ann Likavec ARDC#6330036
                                                 Terri M. Long ARDC#6196966
                                                 Codilis & Associates, P.C.
                                                 15W030 North Frontage Road, Suite 100
                                                 Burr Ridge, IL 60527
                                                 (630) 794-5300
                                                 14-20-05472
                                                 NOTE: This law firm is a debt collector.
